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AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 1




                                             United States District Court
                                                        District of Massachusetts
             UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                    V.


                           Alejandro Suarez                                      Case Number: 1: 18 CR 10104                  -   IT

                                                                                 USM Number:             00921138

                                                                                  Charles P. McGinty
                                                                                 Defendant's Attorney
THE DEFENDANT:

^ pleaded guilty to count(s)             1


• pleaded nolo contendere to count(s)
  which was accepted by the court.
• was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                         Offense Ended             Count

8 U.S.C.§ 1326(a) &              Illegal Reentry of a Removed Alien
(b)(1); 6 U.S.C.
§§ 202(3)-(4) & 557



       The defendant is sentenced as provided in pages 2 through                         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
• The defendant has been found not guilty on count(s)

• Count(s)                                               •   is   • are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attomey for this district within 30 days of any change of name, residence,
or mailingaddressuntilall fines, restitution, costs,and specialassessments imposed bythisjudgmentare fullypaid. If orderedto payrestitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                         6/22/2018
                                                                        Date of Imposition of Judgment




                                                                       ^Signature of Judge

                                                                                 The Honorable Indira Talwani
                                                                                 U.S. District Judge
                                                                        Name and Title of Judge




                                                                        Date
                                                                                   ^ /jJl/z.o
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AO 24SB (Rev. 11/16) Judgment in Criminal Case
                     Sheet 2 — Imprisonment

                                                                                                       Judgment — Page       of

 DEFENDANT: Alejandro Suarez
 CASE NUMBER:             1: 18 CR 10104              - IT

                                                               IMPRISONMENT

           The defendant is hereby committed to the custody ofthe Federal Bureau of Prisons to be imprisoned for a total
term of:           2 month(s)




     •     The court makes the followingrecommendations to the Bureau of Prisons:




     0     The defendant is remanded to the custody of the United States Marshal.

     •     The defendant shall surrender to the United States Marshal for this district:

           •   at                                 •     a.m.     •   p.m.       on

           •   as notified by the United States Marshal.

     •     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           •   before 2 p.m. on                                             .
           •   as notified by the United States Marshal.

           •   as notified by the Probation or Pretrial Services Office.



                                                                     RETURN

 I have executed this judgment as follows:




           Defendant delivered on                                                          to


                                                      , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL




                                                                            By
                                                                                                  DEPUTY UNITED STATES MARSHAL
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AO 24SB (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 5 — Criminal Monetary Penalties
                                                                                                             Judgment — Page
 DEFENDANT: Alejandro Suarez
 CASE NUMBER:              ^-                           " IT         -
                                               CRIMINAL MONETARY PENALTIES

      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                   JVTA Assessment*                                               Restitution
 TOTALS            $ 100.00



 •    The determination of restitution is deferred until                        . An Amended Judgment in a Criminal Case(A0 245C) will be entered
      after such determination.


 •    The defendant must make restitution (including community restitution) to the following payees in the amoimt listed below.

      If the defendant makes a partial payment, each payee shall receive anapproximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                           Total Loss**              Restitution Ordered           Priority or Percentage




 TOTALS




 •     Restitution amount ordered pursuant to plea agreement $

 Q     The defendant must pay interest onrestitution and a fine of more than $2,500, unless the restitution or fine ispaid infull before the
       fifteenth day after the dale ofthe judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default,pursuantto 18 U.S.C. § 3612(g).

 •     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       •    the interestrequirement is waived for the            •       fine   •   restitution.
       •    the interest requirement for the        n     fine       •     restitution is modified as follows:

 * Justice for Victims of Trafficking Actof 2015, Pub. L. No. 114-22.                                                  , ,or      «•             a
 ** Findings for the total amount oflosses are required under Chapters 109A, 110, 1lOA, and 113A ofTitle 18 for offenses committed onor
 after September 13, 1994, but before April 23,1996.
                               Case 1:18-cr-10104-IT Document 25 Filed 06/22/18 Page 4 of 4
AO 245B (Rev. 11/16)      Judgment in a Criminal Case
     , ^                 Sheet 6 — Schedule ofPayments
                                                                                                                  Judgment — Page             of

 DEFENDANT: Alejandro Suarez
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                                                            SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A         0   Lump sum payment of $          100.00                due immediately, balance due

                •    not later than                                     ,or
                •    in accordance with •        C,     •    D,    •     B, or     •   F below; or

 B         •   Payment to begin immediately(may be combined with                 DC,         • D, or       • F below); or

 C         •   Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                               (e.g., months or years), to commence                      (e.g., 30 or 60 days) after the date of this judgment; or

 D         •   Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                               (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
                term of supervision; or

 E         •   Payment during the term of supervised release will commence within                              (e.g., 30 or 60 days) after release from
                imprisonment. The courtwill set the payment plan based on an assessment of the defendant's abilityto pay at that time; or

 F         •    Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties isdue during
 the period of imprisonment. All criminalmonetarypenalties,except those payments made throughthe Federal Bureau of Prisons' Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 •         Joint and Several

           Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amoimt, Joint and Several Amount,
           and corresponding payee, if appropriate.




 •         The defendant shall pay the cost ofprosecution.

 •         The defendant shall pay the following court cost(s):

 •         The defendant shall forfeit the defendant's interest in the following property to the United States:



 Payments shall be applied inthe following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
 interest, (6) community restitution, (7)JVTA assessment, (8) penalties, and (9)costs, including cost ofprosecution and court costs.
